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                                In The Matter Of:
                     THE PEOPLE OF THE STATE OF NEW YORK v.
                     FRANK DiTOMMASO AND PETER DiTOMMASO




                                        TRIAL TESTIMONY
                                         November 5, 2012




                                       Valerie E. Monaco
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                                                                                        1804

          1                     THE COURT:     Hopefully --- You pled guilty -- You

          2         pled guilty --

          3                     THE WITNESS:    Right.
          4                     THE COURT:     -- to something, and you had to say

          5         what it was you did.       So, tell us what it was.

          6                     THE WITNESS:    When I pled, I said that I tried to
          7         get them insurance, get the company insurance and surety

          8         showing knowing that they were --- that they were going ---

          9         that they didn't have the money to warrant it and to --- and
         10         that they were --- it was a fraud or a suspecting even
         11         though --- knowing or suspecting that it was a fraud.

         12        Q     And you pled guilty in December of 2001; correct?
         13        A     I believe that's correct.

         14        Q     And, ultimately, in 2003 you were sentenced it five

         15   years probation --
         16        A     Yes.

         17        Q     -- three hundred hours of community service?

         18        A     I believe so.

         19        Q     Five thousand dollar fine?

         20        A     I believe so.

         21        Q     At the time of your sentencing, did you --- your lawyers

         22   mentioned something about your having a "brain fog?"

         23        A     Yes.

         24        Q     Can you describe for the jurors what that was and why

         25   that was done?
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          1        A     It was -- It was borne out of a very frustrating time.

          2   Lawyers trying to fight the case ordeal with it because there was

          3   not one piece of evidence put forth to the case and none that we
          4   ever saw existed, and I maintained all along that I did not do

          5   this and did not happen and was advised by my attorneys at that

          6   time that I had to take the plea.
          7        Q     So, you pled guilty.      You were claiming that you weren't

          8   guilty?

          9        A     Yes.
         10        Q     Is that what you're saying?       And what was the purpose at
         11   your sentencing of alleging that you had some sort of a brain fog

         12   with respect to that case?
         13        A     Because at the time, several of my attorneys wanted to

         14   still fight it, and they couldn't see any other way to fight it,

         15   and it was a suggestion that came up by one of my attorneys
         16   because I had had a liver disorder a few years earlier, years

         17   earlier, like over six, seven years earlier.

         18        Q     Well, what is "brain fog?"       Did you have it?

         19        A     At the time earlier I did, and then basically what ended

         20   up happening is I ended up getting treated for ADHD subsequent to

         21   that which I do have and, you know, from what I've been told,

         22   it's like it could happen when you're under stress or not, but it

         23   was more something that it was a suggestion by the attorneys.             It

         24   wasn't something that ---

         25        Q     You're saying now that you pled guilty, but that you
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                                                                                         1806

          1   weren't guilty?

          2        A     I don't believe I was guilty.

          3        Q     Why did you plead guilty?
          4        A     Because I was advised by counsel and it didn't happen.

          5   I didn't have any other thing to do.          I had a new daughter, and I

          6   love my two daughters, they're the most important thing in the
          7   world to me, and I was told by the prosecutor that morning that

          8   you're not going to see your daughter for fifteen years, and by

          9   that time I was also being forced that morning to represent
         10   myself at trial because I had run out of money and didn't have
         11   the morning on --- the morning of the trial when the plea

         12   happened, and I believe the part ---
         13              You're talking about my brain fog came later at

         14   sentencing, if I remember?

         15        Q     Right.   Now, in December of 2004, did you go public with
         16   what you knew about who was paying for the renovations of the

         17   Bernie Kerik's apartment?

         18                    MS. FLEMING:    Objection.

         19                    THE COURT:     Sustained.

         20                    MS. FLEMING:    Objection to leading.

         21                    THE COURT:     Sustained.

         22        Q     Did there come a time that you went public with what you

         23   do about who was paying for Bernie Kerik's renovations?

         24                    MS. FLEMING:    Same objection, Your Honor.

         25                    THE COURT:     Sustained.    We rephrase it.
